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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division


 ROBERTTREPETA,
 on behalfofhimselfand all
 other similarly situated individuals,

        Plaintiffs,

 V.                                                           Case No. 2:19-cv-00405-MSD-LRL

 NATIONAL CONSUMER TELECOM
 AND UTILITIES EXCHANGE,INC.,
 and
 EQUIFAX INFORMATION SERVICES, LLC,

 Defendants.


                                             ORDER GRANTING
           PLAINTIFF'S CONSENT MOTION FOR ENLARGEMENT OF TIME
           TO RESPOND TO DEFENDANT EOUIFAX'S MOTION TO DISMISS


        This matter is before the Court on a motion by Plaintiff Robert Trepeta, by Counsel, for an

 enlargement ofo"fpage liinitutionA^an^time to respond to Defendant Equifax's Motion to Dismiss
 (ECF 7). Upon consideration of the pleadings and the representations of the Parties through

 Counsel, this Motion is hereby GRANTED,and it is hereby

        ORDERED that the deadlines by which Plaintiff is to file his response to Equifax's Motion

 to Dismiss is enlarged from September 19, 2019 to September 26, 2019.

        ENTERED this          ^ day of September, 2019.
                                                            —                 —
                                                            Robert J. Krask
